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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN COREY FRASER, JOSHUA CLAY

MCCOY, TYLER DALTON MCGRATH,

IAN FLETCHER SHACKLEY, and

JUSTIN TIMOTHY FRASER, on behalf

of themselves and all others

Similarly situated as a Class,
Plaintiffs,

Vv. No. 3:22-cv-410

BUREAU OF ALCOHOL, TOBACCO,

FIREARMS AND EXPLOSIVES, STEVEN

DETTELBACH, and MERRICK GARLAND,
Defendants.

MEMORANDUM OPINION

This matter is before the Court on DEFENDANTS’ MOTION FOR
ENTRY OF JUDGMENT IN A SEPARATE ORDER (ECF No. 53); PLAINTIFFS’
MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION (“the MOTION”) (ECF

No. 57), PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION

FOR DECLARATORY JUDGMENT AND INJUNCTION (“Br. in Supp.”) (ECF No.
59), DEFENDANTS’ OPPOSITION TO PLANTIFFS' [sic] MOTION FOR
DECLARATORY JUDGMENT AND INJUNCTION (“Response”) (ECF No. 62),

PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION
FOR DECLARATORY JUDGMENT AND INJUNCTION (“Reply”) (ECF No. 67).
For the reasons set forth below, DEFENDANTS’ MOTION FOR ENTRY OF

JUDGMENT IN A SEPARATE ORDER (ECF No. 53) will be denied and
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PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION (ECF

No. 57) will be granted.

BACKGROUND

This case is a constitutional challenge under the Second
Amendment to an interlocking collection of federal statutes and
regulations that prevent 18-to-21-year-olds from purchasing
handguns from federally-licensed firearms dealers (“FFLs”).
MEMORANDUM OPINION at 4 (ECF No. 47). Plaintiffs are all men over
the age of 18 but under the age of 21. Id. at 2; see also FIRST
AMENDED COMPLAINT (“FAC”) at QQ 41-44 (ECF No. 18). Aside from
their age, they are all otherwise qualified to purchase handguns.
FAC § 49. The Defendants (the “Government”) does not dispute that.

Plaintiffs originally filed suit in June 2022 and then filed
their FAC in November of that year. MEMORANDUM OPINION at 3. In
November 2022, the Government filed DEFENDANTS’ MOTION TO DISMISS
PLAINTIFFS’ FIRST AMENDED COMPLAINT (“Motion to Dismiss”) (ECF No.
21) and, in December 2022, Plaintiffs filed PLAINTIFFS’ MOTION FOR
SUMMARY JUDGMENT (“Motion for Summary Judgment”) (ECF No. 28). The
Court held oral argument on the two motions on February 8, 2023.
Minute Entry 2/8/2023 (ECF No. 37). On May 10, 2023, the Court
entered an ORDER (ECF No. 48) and accompanying MEMORANDUM OPINION
(ECF No. 47) denying the Motion to Dismiss and granting the Motion

for Summary Judgment. In the MEMORANDUM OPINION, applying the mode
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of analysis specified in New York State Rifle & Pistol

Associations, Inc. v. Bruen, 142 S.Ct. 2111 (2021), the Court

concluded that, “(b]ecause the statutes and regulations in
question are not consistent with our Nation’s history and
tradition, they, therefore, cannot stand.” MEMORANDUM OPINION at
65.

The Court ordered the parties to meet and confer on how best
to proceed in this matter. MAY 10, 2023 ORDER (ECF No. 49).
Unfortunately, the parties filed a joint status report informing
the Court that they “do not agree on how to proceed.” JOINT REPORT
ON CLASS CERTIFICATION at 2 (ECF No. 52).1! The parties have filed
dueling proposed final orders. Government’s [PROPOSED] JUDGMENT

(ECF No. 53-1); Plaintiffs’ [PROPOSED] ORDER (ECF No. 57-1).

DISCUSSION
In their proposed order, Plaintiffs ask for a declaratory
judgment that:

Plaintiffs John Corey Fraser, Joshua Clay McCoy, Tyler

1 In addition, on May 18, 2023 Plaintiffs filed PLAINTIFFS’ AND PROPOSED
PLAINTIFF’S MOTION TO ADD JUSTIN FRASER AS PLAINTIFF OR GRANT INTERVENTION (ECF
No. 50) and the Government filed DEFENDANTS’ MOTION FOR ENTRY OF JUDGMENT IN A
SEPARATE ORDER (ECF No. 53). On May 22, 2023 Plaintiffs filed PLAINTIFFS’ MOTION
FOR CLASS CERTIFICATION (ECF No. 56). And, on June 2, 2023, the Government filed
DEFENDANTS’ MOTION FOR A STAY OF INJUNCTION PENDING APPEAL (ECF No. 63). Having
reviewed the parties’ original briefing, the Court ORDERED the parties to file
amended briefs addressing Plaintiffs’ Motion for Class Cert. JULY 7, 2023 ORDER
(ECF No. 68). That amended briefing has also been filed. On August 24, 2023,
PLAINTIFFS’ AND PROPOSED PLAINTIFF’S MOTION TO ADD JUSTIN FRASER AS PLAINTIFF
OR GRANT INTERVENTION (ECF No. 50) was granted. See MEMORANDUM OPINION (ECF No.
72); ORDER (ECF No. 73).
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Dalton McGrath, Ian Fletcher Shackley, and Justin
Timothy Fraser, and all fellow members of the Class as
certified, have a constitutional right to purchase
handguns and ammunition from federal firearm licensees
pursuant to the Second Amendment of the Constitution of
the United States, notwithstanding the federal
prohibition on such sales to persons between the ages of
18 and 21.

[PROPOSED] ORDER at 1 (ECF No. 57-1). Furthermore, Plaintiffs ask
this Court for an order of permanent injunction as follows:
federal Defendants, their officers, agents, employees,

and all persons in active concert or participation with

them, are hereby permanently enjoined from enforcing 18

U.S.C. §§ 922(b) (1), (c) and any derivative regulations,

to include 27 C.F.R. §§ 478.99(b)(1), 478.102,

478.124(a), (c) (1) (5), (£), and 478.96(b) in any manner

that obstructs, hinders, prohibits, frustrates, bars, or

prevents the Plaintiffs and members of the Class from

purchasing handguns or ammunition from federally
licensed firearm dealers due to their age.
Id. at 1-2. As explained in a separate MEMORANDUM OPINION, the
Court has certified a nationwide class of all individuals between
the ages of 18 to 21 who are otherwise qualified to purchase
handguns. August 30, 2023 MEMORANDUM OPINION (ECF No. 77); ORDER
(ECF No. 78).

The Government takes the position that, based on the
MEMORANDUM OPINION granting summary judgment (while reserving the
right to appeal that ruling), Plaintiffs’ alleged injuries would
be remedied by a declaratory judgment. The Government would limit

that judgment to the named Plaintiffs. DEFENDANTS’ OPPOSITION TO

PLANTIFFS’ [sic] MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION
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(“Response”) at 1-2 (ECF No. 62). However, the Government argues
that “Plaintiffs have not satisfied their burden of demonstrating
that the requirements for a permanent injunction are satisfied.”
Id. at 2. Instead, the Government, in DEFENDANTS’ MOTION FOR ENTRY
OF JUDGMENT IN A SEPARATE ORDER (ECF No. 53), asks the Court to
declare only that “Plaintiffs John Corey Fraser, Joshua Clay McCoy,
Tyler Dalton McGrath, and Ian Fletcher Shackley have a
constitutional right to purchase handguns from federal firearm
licensees, notwithstanding the federal prohibition on such sales
to persons between the ages of 18 and 20,” [PROPOSED] JUDGMENT
(ECF No. 53-1).
A. Declaratory Judgment

A federal court may “declare the rights and other legal
relations of any interested party seeking such declaration.” 28
U.S.C. § 2201(a). The parties agree that, because summary judgment
will be entered in favor of Plaintiffs, a declaratory judgment
stating that the law and regulations in question are
unconstitutional is appropriate. However, they disagree as to
extent of that declaratory judgment. Plaintiffs ask for
declaratory judgment for the entire class,? while the Government

seeks to limit that declaratory judgment to “the parties before

2 PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION at 1 (ECF No. 57).

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the Court.”3

Having certified a class, every member of the class is a party
before the Court. Afterall, class actions are “an exception to the
usual rule that litigation is conducted by and on behalf of the

individual named parties only.” Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 348 (2011) (quoting Califano v. Yamasaki, 442 U.S.

682, 700-01 (1979)). And, because a Rule 23(b) (2) class has been
certified, “the relief [whether declaratory or injunctive or both]
sought must perforce affect the entire class at once.” Wal-Mart

Stores, Inc., 564 U.S. at 361-62. For the foregoing reasons, the

Court will grant declaratory judgment as to the entire class.

B. Injunction

Plaintiffs ask the Court to enter an order permanently
enjoining the Government from enforcing the law and regulations in
question against the entire class. Plaintiffs argue that, where,
as here, “a statutory provision is unconstitutional on its face,
an injunction prohibiting its enforcement is proper.”* They also
take the view that “[t]he ongoing deprivation of a fundamental

liberty is irreparable” and monetary damages “are entirely

3 DEFENDANTS’ OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR DECLARATORY JUDGMENT
AND INJUNCTION (“Response”) at 2 n.1. (ECF No. 62).

4 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR DECLARATORY
JUDGMENT AND INJUNCTION ("“Br. in Supp.”) at 3 (ECF No. 59).

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inadequate.” Id. Furthermore, Plaintiffs assert that Defendants
can suffer no hardship from being prohibited from enforcing the
unconstitutional laws at issue and that “[i]t is always in the
public interest for unconstitutional laws to be prohibited from
future enforcement.” Id.

The Government opposes the imposition of an injunction.5
First, the Government argues that Plaintiffs have not suffered an
“irreparable” injury because they, by definition, will eventually
turn 21 and “will no longer be burdened by the challenged laws”.
Id. at 2-3. And, according to the Government, a “declaratory
judgment” would “provide full relief for Plaintiffs’ alleged
injuries,” while “enjoining an act oof Congress would
unquestionably impose irreparable harm on the federal government
and contravene the public interest.” Id. at 3. The Government
devotes the rest of its brief arguing against a nationwide
injunction and states that, if injunctive relief is granted, it
“should be limited to the parties before the Court.” Id. at 3-4.

Injunctions are equitable remedies, deriving from the Court’s

inherent equitable authority. Salazar v. Buono, 130 S. Ct. 1803,

1816 (2010). And, equitable relief “is not granted as a matter of

S DEFENDANTS’ OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR DECLARATORY JUDGMENT
AND INJUNCTION (“Response”) at 1 (ECF No. 62).

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course,” id., because injunctions are “regarded as an

extraordinary remedy,” 11A Charles Alan Wright, Arthur R. Miller,

& Mary Kay Kane, Federal Practice and Procedure, § 2942 (3d ed.)

(April 2023). When fashioning appropriate injunctive relief, “a
federal district court has wide discretion,”® but, it must “mold
its decree to meet the exigencies of the particular case,”

id. (quoting Trump v. Int’l Refugee Assistance Project, 137 S. Ct.

2080, 2087 (2017)). In other words, district courts are “required
to tailor the scope of the remedy to fit the nature and extent of

the constitutional violation.” Ostergren v. Cuccinelli, 615 F.3d

263, 288-89 (4th Cir. 2010) (quoting Dayton Bd. of Educ. v.

Brinkman, 433 U.S. 406, 420 (1977)).
A permanent injunction is available only if the party seeking
it demonstrates actual success on the merits of the claim upon

which suit was brought. Mayor of Baltimore v. Azar, 973 F.3d 258,

274 (4th Cir. 2020) (quoting Amoco Prod. Co. v. Village of

Campbell, 480 U.S. 531, 546 n.12 (1987)). Plaintiffs have a
decision awarding them summary judgment that, when implemented by
a final order, will provide them with “actual success” on the
merits of COUNT I of the FAC. So, they have met the actual success

requisite for a permanent injunction.

6 Roe v. Dept. of Defense, 947 F.3d 207, 231 {4th Cir. 2020) (quoting Richmond
Tenants Org., Inc. v. Kemp, 956 F.2d 1300, 1308 (4th Cir. 1992)).

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But to show that an injunction is an appropriate remedy,
Plaintiffs also must demonstrate:

(1) that [they have] suffered an irreparable injury; (2)
that remedies available at law, such as monetary
damages, are inadequate to compensate for that injury;
(3) that, considering the balance of hardships between
the plaintiff and defendant, a remedy in equity is
warranted; and (4) that the public interest would not be
disserved by a permanent injunction.

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156-57 (2010)

(quoting eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

(2006)) (emphasis added). “An injunction should issue only if the
traditional four-factor test is satisfied.” Id. at 157. Each

element will be addressed in turn.

1. Plaintiffs’ Irreparable Injury

By infringing upon the Plaintiffs’ constitutional rights, the
challenged statutory and regulatory provisions inflicted an
irreparable injury on Plaintiffs. “[I]t is well-established that
‘(t]he loss of First Amendment freedoms, for even minimal periods
of time, unquestionably constitutes irreparable injury.’” Legend

Night Club v. Miller, 637 F.3d 291, 302 (4th Cir. 2011) (quoting

Elrod v. Burns, 427 U.S. 347, 373 (1976))}. The same holds true for

Second Amendment freedoms. After all, the Second Amendment “is not

a second-class right.” New York State Rifle & Pistol Assoc., Inc.

v. Bruen, 142 S.Ct. 2111, 2156 (2022) (quotation marks and citation

omitted). As the Supreme Court explained in Bruen, because “[t]he

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Second Amendment is the very product of an interest balancing by
the people. . . it surely elevates above all other interests the
right of law-abiding, responsible citizens to use arms for self-
defense.” 142 S.Ct. at 2131.

Contrary to the Government’s view,’ it does not matter that,
one day, Plaintiffs will age out of the prohibited category. Since
they turned 18, and at this moment and this point in their lives,
their constitutional rights have been, and continue to be, denied
by the Government’s conduct in enforcing the challenged statutory
and regulatory regime. That establishes that the Plaintiffs have
suffered an “irreparable injury.”

Nor is the irreparability of the constitutional injury
eliminated because, as the Government argues, the Plaintiffs and
class members “may lawfully obtain handguns as a gift from their
parents.” Response at 3. Nothing in the Second Amendment limits
the Plaintiffs’ exercise of their constitutional rights to what a
third-party, by grace, may choose (or not) to do to help Plaintiffs
exercise that right (here the right to purchase that which the
Second Amendment entitles them to purchase on their own).
MEMORANDUM OPINION at 7-8, 17-22 (ECF No. 47).

Moreover, the Government’s suggested lack of harm addresses

7 See DEFENDANTS’ OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR DECLARATORY JUDGMENT
AND INJUNCTION (“Response”) at 2-3 (ECF No. 62).
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the right to possess, not the right to purchase. So, the argument
fails for that additional reason.

2. Remedies Available at Law

The eBay test calls for an assessment of relief other than an
injunction before the powerful remedy of an injunction can be
imposed. That assessment serves to assure that the extraordinary
remedy of injunction is indeed necessary.

The eBay test thus asks, inter alia, whether the Plaintiffs’

injury can be redressed by an award of monetary damages. The
Plaintiffs address the point by making the assertion that “[t]he
remedies available at law, such as monetary damages, are entirely
inadequate.”® The Government responds only that the Plaintiffs’
statement is “cursory” and is made “without any explanation
whatsoever.”9 The net result is that the Government does not argue
that monetary damages are either available or adequate to redress
the constitutional injury. And, for good reason: nothing in the
record would permit a finding that an award of money damage could
redress that deprivation of the rights enjoyed by the Plaintiffs
under the Second Amendment. The Government does not argue to the

contrary.

8 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR DECLARATORY
JUDGMENT AND INJUNCTION ("“Br. in Supp.”) at 3 (ECF No. 59).

9 DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT AND
INJUNCTION (“Response”) at 3 (ECF No. 62).
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The Government does, however, argue that the Plaintiffs “do
not even attempt to explain why a declaratory judgment is
insufficient relief.” Response at 3. That is correct, but, the
Government also does not “even attempt to explain why a declaratory
judgment is [ ] sufficient relief.” In other words, neither the
Plaintiffs’ nor the Government’s ipse dixit much helps the analysis
of the second facet of the eBay test.

Nonetheless, the record shows that the Government is actively
enforcing the challenged legal regime and, in so doing, is
effecting a daily deprivation of Plaintiffs’ fundamental Second
Amendment right. A declaration that the law is unconstitutional,
standing alone, cannot remedy the deprivation being worked by the
Government because, notwithstanding the declaration, the denial of
the rights persists. Nothing in the record permits a finding that,
if the remedy were confined to a declaration, Plaintiffs would be
allowed to exercise the right of which they are being deprived by
the challenged legal regime. The only available remedy to stop the
denial of the right is an order enjoining the enforcement of the
legal regime that is affecting the deprivation.

That is consistent with the principle that injunctions
prohibiting the enforcement of unconstitutional laws are the
proper remedy when, as here, a court upholds a facial

constitutional challenge. In Americans for Prosperity Found. v.

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Bonta, the Supreme Court affirmed a district court’s finding the
challenged state law was unconstitutional and found that the
district court “correctly. . . permanently enjoined the [state]
Attorney General” from enforcing a law in question. 141 S.Ct. 2373,

2389 (2021); see also Bostic v. Schaefer, 760 F.3d 352, 384 (4th

Cir. 2014) (finding that a permanent injunction on the enforcement

of an unconstitutional statute was the proper remedy); Legend Night

Club v. Miller, 637 F.3d 291, 302-03 (4th Cir. 2011) (same); S.C.

Freedom Caucus v. Jordan, No. 3:23-cv-795, 2023 WL 4010391, at *15

(D.S.C. June 13, 2023) (same). In the Second Amendment context,
after finding their respective states’ laws imposing age-based
restrictions on the exercise of Second Amendment’ rights
unconstitutional, both the District of Minnesota and the Northern
District of Texas issued permanent injunctions on the enforcement

of those laws. Firearms Policy Coalition, Inc v. McCraw, 623

F.Supp.3d 740, 756 (N.D. Tex. 2022); Worth v. Harrington, No. 21-

cv-1348, 2023 WL 2745673, at *18 (D. Minn. March 31, 2023).
In some cases, a declaratory judgment of ae law’s
unconstitutionality, without accompanying injunctive relief, can

be sufficient relief. For instance, in Poe v. Gerstein, the Supreme

Court upheld a district court’s decision declining to issue an
injunction “[b]lecause it was anticipated that the State would

respect the declaratory judgment.” 417 U.S. 281, 281 (1974). More

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recently, the District of Maryland likewise declined to enter a
permanent injunction on the enforcement of a state law when the
state “had made no effort to enforce it” in the past and the state
“represents to the Court that it will not enforce it.” Assoc. of

Am. Publishers, Inc. v. Frosh, 607 F.Supp.3d 614, 618-19 (D. Md.

2022).

In this case, no such representation has been made and the
Government has been vigorously enforcing the challenged
regulations for decades. Nor has the Court received any indication
from the Government that it would cease to enforce the laws absent
an injunction. Indeed, the Government's proposed relief would only
extend to the original four named Plaintiffs, and the Government
wishes to stay even that limited relief pending appellate review,
which the Government has advised that it plans to seek as soon as
a final order is entered in this matter. Thus, on this record, an
injunction is necessary to prevent future enforcement of the
challenged laws and regulations.

In sum, the Court finds that no remedy other than an
injunction will rectify Plaintiffs’ ongoing constitutional injury.
3. The Balance of Hardships Warrants Equitable Relief

Plaintiffs address the balance of hardships analysis by
asserting that:

[t]he Defendants will suffer no hardship by prohibiting
them from enforcing the laws at issue, for their time

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and resources can be spent in more effective and
constitutionally ways.}?

However, as the Government correctly observes:
[t]he presumption of constitutionality which attaches to
every Act of Congress is not merely a factor to be
considered in evaluating success on the merits, but an

equity to be considered in favor of [the Government] in
balancing hardships.

DEFENDANTS’ OPPOSITION TO PLANTIFFS’ MOTION FOR DECLARATORY

JUDGMENT AND INJUNCTION at 3 (ECF No. 62) (quoting Walters v. Nat'l

Assoc. of Radiation Survivors, 468 U.S. 1323, 1324 (1984)

(Rehnquist, J. in chambers)). That is because “[a]ny time a
[Government] is enjoined by a court from effectuating statutes
enacted by representatives of its people, it suffers a form of

irreparable harm.” New Motor Vehicle Bd. of Cal. v. Orren W. Fox

Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers). Both

Walters and New Motor Vehicle Board are in chambers opinions

concerning requests for stays of injunctions pending appeal, so
they are not controlling in deciding whether to issue a permanent
injunction in the first place. Moreover, when determining if an
injunction is appropriate in the first instance, the Fourth Circuit
has found that the Government “is in no way harmed by issuance of

an injunction that prevents the state from enforcing

10 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR DECLARATORY
JUDGMENT AND INJUNCTION (*Br. in Supp.”) at 3 (ECF No. 59)
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unconstitutional restrictions.” Legend Night Club v. Miller, 637

F.3d 291, 302-03 (4th Cir. 2011); see also Newsom ex rel. Newsom

v. Albemarle Cnty., 354 F.3d 249, 261 (4th Cir. 2003).

As explained in the decision granting summary judgment,

applying the mode of analysis prescribed by New York State Rifle

& Pistol Associations, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the

statutory and regulatory regime proposed to be enjoined offends
the Second Amendment.!! In fact, as explained in that opinion, the
Government was not able to provide any founding era support (as
required by Bruen)}? for the deprivation effected by the statutory
and regulatory scheme at issue.

When that is the situation, any minimal hardship that may
befall the Government from not being able to enforce the
unconstitutional statute and regulations must yield to that harm
suffered by the individual whose constitutional rights are being

denied by the Government's conduct. Legend Night Club, 637 F.3d at

302-03. And, where, as here, the balance of hardships tips in favor

of the person who is suffering a clearly demonstrated deprivation

11 MEMORANDUM OPINION at 65 (ECF No. 47).

12 The most the Government could do was to justify the statutes and regulations
by pointing to cites that were over fifty years removed from 1791. That, under
Bruen, is not sufficient. MEMORANDUM OPINION at 54-59; Bruen, 142 S.Ct. at 2147
n.22 (determining a law passed 69 years after the ratification of the Second
Amendment is of “insubstantial” value in “discerning the original meaning of
the Second Amendment”).

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of a constitutional right, a remedy in equity is warranted.
4. Disservice to the Public Interest
The Plaintiffs’ rather summary view is that:
[t]here is no disservice to the public interest by
enjoining such unconstitutional law permanently-quite
the opposite. In it always in the public interest for
unconstitutional laws to be prohibited from future
enforcement .}3
The Government does not salute this facet of the eBay test. But,
of course, the Court must.
It is no doubt true that the public interest is never

disserved by protecting individual rights conferred by the

Constitution. Legend Night Club v. Miller, 637 F.3d 291, 303 (4th

Cir. 2011) (“upholding constitutional rights is in the public

interest”); see also Newsom ex rel. Newsom v. Albemarle Cnty. Sch.

Bd., 354 F.3d 249, 261 (4th Cir. 2003). And, it generally serves
the public interest to assure that governmental conduct, statutes,
and rules remain cabined by the constitutional principles that
circumscribe their permissible reach. So, in a case such as this
where the Plaintiffs have thoroughly established that the
Government conduct is not cabined by the Second Amendment, it
certainly does not disserve the public interest to foreclose that

conduct.

13 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR DECLARATORY
JUDGMENT AND INJUNCTION ("“Br. in Supp.”) at 3 (ECF No. 59).
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Of course, the public interest also is implicated by the fact
that federal government agencies and officials are parties to the
case and are defending federal statutes and regulations against
allegations that they offend the Constitution. And, as then Justice
Rehnquist explained, an injunction against a federal statute
creates a public hardship, the existence of which is a matter of
public interest.

The question, under eBay, then becomes whether the public
interest is disserved by in enforcing a law that has been found to
be unconstitutional. And, the answer is no.

In part, however, that response depends on the nature of the
right that animates the injunctive relief. In Bruen, the Supreme
Court held that:

The Second Amendment ‘is the very product of an interest

balancing by the people’ and it ‘surely elevates above

all other interests the right of law-abiding,

responsible citizens to use arms for self-defense.’

[District of Columbia v. Heller, 554 U.S. 570, 635

(2008) .] It is this balance-struck by the traditions of

the American people-that demands our unqualified
deference.

New York State Rifle & Pistol Assoc., Inc. v. Bruen, 142 S.Ct.

2111, 2131 (2022). In sum, the Second Amendment right that is the
subject of the claim in this case is itself a matter of great
public interest. That, of course, is because “[t] he constitutional
right to bear arms in public for self-defense is not a ‘second

class right.’ .. .” Id. at 2156 (citation omitted). To implement
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that right by enjoining a legal regime that trenches upon it can
hardly be said to disserve the public interest.

Even though the Government ignored the public interest factor
in its brief opposing injunctive relief, it pointed the Court to
its forthcoming brief a proposed stay pending appeal,** wherein it
would address the public interest. That brief is DEFENDANTS’ MOTION
FOR A STAY OF INJUNCTION PENDING APPEAL (“Br. in Supp. of
Injunction”) (ECF No. 63), does mention the term “public interest”
when reciting the factors to be considered, and in later arguing
that the Government’s interest and the public interest is the same.
Br. in Supp. of Injunction at 2. How the two interests equate is
not explained so the reader is left to speculate what argument the
Government is actually making. It seems that the Government is
really relying on the Walters in chamber opinion by Justice
Rehnquist and the fact that “the restrictions at issue represent
a public safety measure that Congress determined was necessary to
fight crime.” Id. at 3.

There is little doubt that the statutes at issue were passed
to implement what Congress considered to be measures that would
help to fight the unlawful use of guns. And, there can be little

doubt that fighting unlawful conduct is in the public interest.

4 That clue is planted in a footnote in DEFENDANTS‘ OPPOSITION TO PLAINTIFFS’
MOTION FOR DECLARATORY JUDGMENT AN INJUNCTION at 3 n.2 (ECF No. 62}.
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But, that was also true of the statutes in New_York State Rifle &

Pistol Associations, Inc. v. Bruen, 142 S. Ct. 2111 (2022);

District of Columbia v. Heller, 554 U.S. 570 (2008); and McDonald

v. Chicago. 561 U.S. 742 (2010), ali of which were found to be

contrary to the Second Amendment and the public interest that it
serves. The Government’s reliance on the crime-fighting objective
of Congress in enacting the statutes at issue here is likewise
contrary to the Second Amendment and to the public interest that
it serves.

Furthermore, a consideration of Congress's objectives in
passing the statute would run counter to Bruen’s express rejection
of “the application of any judge empowering interest-balancing
inquiry that asks whether the statute burdens a protected interest
in a way or to an extent that is out of proportion to the statute’s
Salutary effects upon other important governmental interests.”
Bruen, 142 S.Ct. at 2129 (citation and quotation marks omitted).
For that reason, the Court decline the Government’s invitation to
engage, by indirection, in the means-ends test that was
specifically rejected by Bruen.

Lastly, the Government contends that the scope of the
injunction is to be considered as a matter of public interest. No
authority is cited for the argument, but it does seem to be an

aspect of the exercise of common sense that, of necessity, must

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accompany the exercise of equitable authority.

It is true that, to redress the harm to the class certified under
Rule 23(b) (2), an injunction here (if otherwise appropriate under
eBay) will be nationwide in scope. And, it is also true that some
nationwide injunctions have increasingly (and rightly) been
subject to criticism from courts and scholars as consistent neither
with the public interest in the proper development of the law nor
in assuring that the federal judicial system operates within its
proper scope.15 Although, many of those critiques are well-founded,
even the most strident of them acknowledge the propriety of
nationwide injunctions when a Rule 23(b)(2) class has been
certified.1®© Such a class has been certified in this case. August

30, 2023 MEMORANDUM OPINION {ECF No. 77); ORDER (ECF No. 78).

18 Dept. of Homeland Sec. v. New York, 140 S.Ct. 599, 599-601 (2020) (Gorsuch,
J. concurring); Trump v. Hawaii, 138 S.Ct. 2392, 2424-25 (2018) (Thomas, J.
concurring) (National “injunctions are beginning to take a toll on the federal
court system-preventing legal questions from percolating through the federal
courts, encouraging forum shopping, and making every case a national emergency
for the courts and for the Executive Branch”); CASA de Maryland, Inc. v. Trump,
971 F.3d 220, 256 (4th Cir. 2020), vacated by 981 F.3d 311 (4th Cir. 2020); see
generally Samuel L. Bray, Multiple Chancellors: Reforming the National
Injunction, 131 Harv. L. Rev. 417 (2017); but see Amanda Frost, In Defense of
Nationwide Injunctions, 93 N.Y.U. L. Rev. 1065 (2018); Suzette M. Malveaux,
Class Actions, Civil Rights, and the National Injunction, 131 Harv. L. Rev. F.
56 (2017).

16 Zachary D. Clopton, National Injunctions and Preclusion, 118 Mich. L. Rev.
1, 6 n.27 (2019) (“[c]ritics of national injunctions frequently argue that
nonparty protection is inappropriate because the plaintiffs could have sought
a national class action instead”); CASA de Maryland, 971 F.3d at 259 (“I[q]uite
obviously,” Rule 23(b)(2) is “the appropriate way to resolve the small subset
of cases in which an injunction protecting only the plaintiff could prove too
narrow”); Bray, Multiple Chancellors, 131 Harv. L. Rev. at 475-76.

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Moreover, the Fourth Circuit has, on numerous occasions,
endorsed the use of nationwide injunctions, including against the

federal government. Roe v. Dept. of Defense, 947 F.3d 207 (4th

Cir. 2020); Va. Society for Human Life, Inc. v. FEC, 263 F.3d 379,

393 (4th Cir. 2001) overturned on other grounds by The Real Truth

About Abortion, Inc. v. Fed. Election Comm'n, 681 F.3d 544 (4th

Cir. 2012) (“Nationwide injunctions are appropriate if necessary

to afford relief to the prevailing party”); Richmond Tenants Org.,

Inc. v. Kemp, 956 F.2d 1300, 1308-09 (4th Cir. 1992). In doing so,

the Fourth Circuit explicitly rejected the argument that a
nationwide injunction “exceeds a court’s authority under both
Article III and fundamental principles of equity.” Roe, 947 F.3d
at 232. As such, it is within this Court’s authority to authorize
a nationwide injunction in this class action under Rule 23(b) (2).

Of course, as described above, “[o]nce a constitutional
violation is found, a federal court is required to tailor the scope
of the remedy to fit the nature and extent of the constitutional

violation.” Ostergren v. Cuccinelli, 615 F.3d 263, 288-89 (4th

Cir. 2010) (quoting Dayton Bd. of Educ. v. Brinkman, 433 U.S. 406,

420 (1977)). But, “the fact that the class is nationwide in scope
does not necessarily mean that the relief afforded the plaintiffs
will be more burdensome than necessary to redress the complaining

parties.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). When

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determining the extent of the remedy, courts look to the extent of

the harm. Ostergren, 615 F.3d at 288-89 (quoting Missouri v.

Jenkins, 515 U.S. 70, 88, (1995) (“[T]he nature of the. . . remedy
is to be determined by the nature and scope of the constitutional
violation.”)).

In this case, the harm (the violation of the Plaintiffs’
Second Amendment rights) extends to all members of the class. So,
the remedy must too. The Court found the challenged law and
regulations facially unconstitutional thereby carrying out its
“duty. . . to declare all acts contrary to the manifest tenor of
the Constitution void.” Federalist 78 (Hamilton). This voided
legal regime may, therefore, not be enforced at all. In other
words, the Court’s ruling does, and must, apply to protect the

Second Amendment rights of all citizens between the ages of 18 to

21 who are otherwise eligible to buy a handgun (i.e., the class).
In no way was either the substantive decision or the class
certification decision in this case limited or influenced by the
fact that the named Plaintiffs live in the Eastern District of
Virginia, the Commonwealth of Virginia, or the Fourth Circuit.
Indeed, aside from the procedural question of venue, this case’s
substantive outcome on the merits would be the same if the

individuals resided on the opposite side of the country.

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In sum, people between the ages of 18 and 21 in the Eastern
District of Virginia suffer an equal burden as people of the same
age in the Southern District of New York, the Central District of
California, or any other district. The Government’s policies
affect-and harm-each of them equally. Therefore, “[t] he
categorical policies relied upon by the Government call for
categorical relief.” Roe, 947 F.3d at 232. Only a nationwide
injunction will “prevent irreparable injury to plaintiffs,” who,
since as class has been certified, include all American citizens
between the ages of 18 to 21 who are otherwise qualified to

purchase a gun. Richmond Tenants Org., Inc., 956 F.2d at 1309.

However, in recognition of the currently pending parallel
litigation concerning the challenge legal regime,}’ the injunction
will not apply to the Western District of Louisiana’® and the

Northern District of West Virginia.}9

17 Brown v. Bureau of Alcohol, Tobacco, Firearms and Explosives, No. 1:22 cv-80
(N.D. W. Va. filed Aug. 30, 2022); Reese v. ATF, NO. 6:20-CV-01438, 2022 WL
17859138 (W.D. La. Dec. 21, 2022), appeal docketed, No. 23-30033 (Sth Cir. Jan.
10, 2023).

18 The Western District of Louisiana is comprised of the following parishes in
the State of Louisiana: Acadia, Allen, Avoyelles, Beauregard, Bienville,
Bossier, Caddo, Calcasieu, Caldwell, Cameron, Catahoula, Claiborne, Concordia,
Jefferson Davis, De Soto, East Carroll, Evangeline, Franklin, Grant, Iberia,
Jackson, Lafayette, La Salle, Lincoln, Madison, Morehouse, Natchitoches,
Ouachita, Rapides, Red River, Richland, Sabine, Saint Landry, Saint Martin,
Saint Mary, Tensas, Union, Vermilion, Vernon, Webster, West Carroll, and Winn.

19 The Northern District of West Virginia is comprised of the following counties

in the State of West Virginia: Barbour, Berkeley, Braxton, Brooke, Calhoun,

Doddridge, Gilmer, Grant, Hampshire, Hancock, Hardy, Harrison, Jefferson,

Lewis, Marion, Marshall, Mineral, Monongalia, Morgan, Ohio, Pendleton,
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While this nationwide injunction may be geographically broad,

it is no greater than necessary to afford relief to the certified

class.

CONCLUSION
For the reasons set forth above, PLAINTIFFS’ MOTION FOR
DECLARATORY JUDGMENT AND INJUNCTION (ECF No. 57) will be granted

and DEFENDANTS’ MOTION FOR ENTRY OF JUDGMENT IN A SEPARATE ORDER

jo, [el

Robert E. Payne
Senior United States District Judge

(ECF No. 53) will be denied.

Richmond, Virginia
Date: August Fn. 2023

Pleasants, Pocahontas, Preston, Randolph, Ritchie, Taylor, Tucker, Tyler,
Upshur, Webster, and Wetzel.
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